Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 1 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 2 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 3 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 4 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 5 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 6 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 7 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 8 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 9 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 10 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 11 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 12 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 13 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 14 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 15 of 16
Case 4:15-cr-00263 Document 102 Filed on 12/04/17 in TXSD Page 16 of 16
